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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AARON RICH, )
)

Plaintiff, )

)

v. ) Civil Case No. 18-681 (RJL)

)

ED BUTOWSKY, and )
MATTHEW COUCH, and )
AMERICA FIRST MEDIA, )
)

Defendants. )

ORDER

1H

July I6 , 2020 [Dkt. ## 160, 171, 190]

Pending before the Court are several motions concerning ongoing discovery
disputes between the parties. First, plaintiff has moved to compel defendant Couch to
produce documents from Flock, a “multi-party messaging platform” that—according to
plaintiff—Couch has used for communications relevant to this case. P1.’s Mot. to Compel
at 2 [Dkt. # 160]. Plaintiff served Couch with his First Request for Production of
Documents on April 23, 2019. Jd. Couch did not respond for several months, and on July
31, 2019, I granted plaintiff's motion to compel him to do so. Jd. Two months later,
counsel for Couch informed plaintiff that:other responsive Flock documents in Couch’s
possession had not been produced. /d. For months, the parties discussed possible methods
for production, with plaintiff offering to pay Flock half the cost of $500 to make the

database searchable for Couch. Jd. at 2-3. Sometime thereafter, a discovery vendor—
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apparently acting at the direction of Couch’s counsel—sent plaintiff an invoice for a $4,000
retainer toward an estimated cost of $12,000 for document collection. Jd at 3. Not
surprisingly, discussions between the parties broke down. Jd. To date, Couch has failed
to produce any of the relevant documents. Jd. at 3.

Couch advances three arguments as to why he should not be ordered to produce
these relevant documents in his possession. First, Couch contends that the Flock
documents contain communications with third parties, and, because he has “no right over
any other uses of Flock,” he cannot produce them without the consent of those third parties.
Defs.’ Opp. to Mot. to Compel (“Defs.’ Mot. to Compel Opp’n”) at 1 [Dkt. # 166]. That
is wrong. Couch does not assert that the documents are privileged, and he is obligated to
produce clearly relevant documents in his possession. Second, Couch argues he is not
required to produce the Flock documents because defendant Butowsky did not use Flock,
and Couch does not intend to rely on Flock documents in his defense. Jd. But again, the
pertinent question is not whether Couch intends to rely on certain discovery but rather,
whether it is relevant to the issues in this case. And the fact that Butowsky did not use
Flock does not alone render these documents irrelevant. Third, Couch submits that he does
not have “any resources to fund discovery efforts.” Jd. Although the Court is sensitive to
Couch’s financial situation, those concerns are not animated here. Couch is able to produce
the Flock documents at zero cost by simply taking screenshots of the communications. For

the foregoing reasons, it is hereby ORDERED that Plaintiff's motion is GRANTED.
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Plaintiff also moves to remedy third-party Larry Johnson’s refusal to answer
questions during his deposition, including to impose Rule 37 sanctions on his counsel. PIl.’s
Mot. to Remedy [Dkt. # 171]. Defendants, in turn, have cross-moved for a protective order
and sanctions against plaintiff. Defs.’ Opp. to Mot. to Remedy and Cross-Motion for
Protective Order and Sanctions (“Defs.’ Cross Mot.”) [Dkt. # 189]. Defendant Butowsky
listed Johnson in his initial disclosures as a fact witness with “knowledge of his
investigation of Seth Rich’s murder and communications with Mr. Butowsky regarding the
same.” Id, at2. At his deposition, Johnson’s counsel Eden Quainton—who also represents
Butowsky and Couch in this matter—instructed Johnson not to answer certain questions.
Id. at 2-3. Johnson’s counsel contends that because defendants intend to offer Johnson as
an expert in this case, he cannot be deposed on any matters that might be covered in a future
expert report. Defs.’ Cross Mot. at 2, 3 (citing Fed. R. Civ. P. 26(b)(4)(A)). In Johnson’s
view, plaintiff would have an unfair “sneak peak” into defendants’ trial strategy if he is
permitted to “venture into areas to be covered by Mr. Johnson’s report” before the report
is prepared. Id. at 6.

The law in this Circuit permits plaintiff to depose Johnson as to “facts known or
opinions held . . . prior to the time at which he began to devote his talents to the litigation.”
Marine Petroleum Co. v. Champlin Petroleum Co., 641 F.2d 984, 989 (D.C. Cir. 1979)
(emphasis added). In other words, facts “derive[d] . . . as an actor or viewer with respect
to transactions or occurrences that are part of the subject matter of the lawsuit” are fair
game. /d. Facts known and opinions held in anticipation of litigation or for trial are not.

Id. Were it otherwise, parties could shield any fact witness by retaining that witness as an

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expert. Johnson was retained in April 2018. See Defs.’ Cross Mot. at 15. His personal
observations, knowledge, and opinions prior to April 2018 cannot—by definition—have
been made in anticipation of litigation or the preparation of an expert report. They are thus
the proper subject of deposition questions in his capacity as a designated fact witness.
Plaintiffs are instructed, however, to refrain from asking Johnson questions specifically
directed to his qualifications as an expert in this litigation during his deposition as a fact
witness. Accordingly, plaintiffs motion to remedy is GRANTED IN PART and
DENIED IN PART, and Johnson’s cross-motion is DENIED. Johnson is directed to
answer questions relating to transactions or occurrences he participated in or observed prior
to his retention in April 2018. I decline to impose sanctions against Johnson’s counsel at

this time.

SO ORDERED.

RICHARD J. LEO
United States Sema Judge

